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     Eastern District of Washington
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 7                          UNITED STATES DISTRICT COURT
 8                         EASTERN DISTRICT OF WASHINGTON
 9    UNITED STATES OF AMERICA,
10
                                 Plaintiff,               VERIFIED COMPLAINT FOR
11                                                        FORFEITURE IN REM
12           vs.
13    $717,201.44 U.S. CURRENCY,
14
                                 Defendant.
15

16
           Plaintiff, United States of America, by its attorneys, William D. Hyslop, United

17 States Attorney for the Eastern District of Washington, and Brian M. Donovan,

18
     Assistant U.S. Attorney, brings this complaint and alleges as follows in accordance
19

20 with Supplemental Rule G(2) of the Federal Rules of Civil Procedure:

21                                I. NATURE OF THE ACTION
22
           1.      This is an action to forfeit and condemn to the use and benefit of the
23

24 United States of America the following listed property, hereafter the “Defendant

25 “Property,” for violations of 18 U.S.C. § 1343, Wire Fraud.

26

27

28
     VERIFIED COMPLAINT FOR FORFEITURE IN REM -1
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                                II. THE DEFENDANT IN REM
 1

 2         2.    The Defendant Property consists of the following property:
 3
                 $717,201.44 U.S. Currency seized from SunTrust Bank
 4               account ending in #8992.
 5
                              III. JURISDICTION AND VENUE
 6
           3.    Plaintiff brings this action in rem in its own right to forfeit and condemn
 7

 8 the Defendant Property. This Court has jurisdiction over an action commenced by the

 9
     United States under 28 U.S.C. § 1345, and over an action for forfeiture under 28
10

11
     U.S.C. § 1355(a). This Court has in rem jurisdiction over the Defendant Property

12 under 28 U.S.C. § 1355(b).

13
           4.    Upon the filing of this complaint, Plaintiff requests that the Court issue
14

15
     an arrest warrant in rem pursuant to Supplemental Rule G(3)(b), which Plaintiff will

16 execute upon the property pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule

17
     G(3)(c).
18

19         5.    Venue is proper in this district pursuant to 28 U.S.C. §1355(b)(1),

20 because the acts or omissions giving rise to the forfeiture occurred in this district.

21
                                IV. BASIS FOR FORFEITURE
22

23         6.    Plaintiff repeats and re-alleges each and every allegation set forth in

24 Paragraphs 1 through 5 above.

25
           7.    The United States alleges that the Defendant Property is subject to
26

27 forfeiture to the United States pursuant to 18 U.S.C. § 981(a)(1)(C) because it is

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     property constituting or derived from proceeds traceable to a violation(s) of 18 U.S.C.
 1

 2 § 1343. Violations of 18 U.S.C. § 1343 are offenses constituting “specified unlawful

 3
     activity” for the purposes of 18 U.S.C. § 981(a)(1)(C) by way of 18 U.S.C. §
 4
     1956(c)(7)(A) and 18 U.S.C. § 1961(1). As a result of the foregoing, the Defendant
 5

 6 property is liable to condemnation and forfeiture to the United States for its use, in

 7
     accordance with the provisions of 18 U.S.C. § 981.
 8
                                           V. FACTS
 9

10         8.     Benton County, Washington, routinely conducts business with Banlin
11
     Construction, LLC (“Banlin Construction”). Banlin Construction is a legitimate
12

13
     construction company, which is actively registered with the Washington Secretary of

14 State. Its principal place of business is located in Kennewick, WA. Benton County

15
     currently contracts with Banlin Construction for various county projects, to include
16

17 building construction and road maintenance.

18         9.     On or about December 6, 2019, the United States Secret Service (USSS)
19
     was contacted by Benton County and the Benton County Sheriff’s Office and was
20

21 made aware of a business email fraud scam that Benton County had fallen victim to

22 by an unidentified individual(s).

23
           10.    Benton County representatives advised the USSS that on October 28,
24

25 2019, the Benton County Auditor’s Office had received an email from an individual(s)

26 claiming to be Justin Griffich. In this email, Justin Griffich claimed to be an

27
     accountant who was working for Banlin Construction. From October 28, 2019 and
28
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     November 15, 2019, approximately 20 emails were sent between employees of
 1

 2 Benton County and an individual(s) claiming to be Justin Griffich.

 3
           11.    The email address used by the unknown individual(s) was
 4
     jgriffich@banlinconstructon.com (note, the fraudulent email address uses the word
 5

 6 “constructon”, not “construction”). This email address was determined to not be a

 7
     correct address for an employee with Banlin Construction. Currently, Banlin
 8
     Construction has an employee named Justin Griffeth, with an email address of
 9

10 Justin@BanlinConstruction.com. It appears the fraudulent email account was

11
     intended to mislead Benton County into believing that the fraudulent emails were in
12

13
     fact from Banlin Construction and that the fraudulent individual “Justin Griffich” was

14 a legitimate employee of Banlin Construction.

15
           12.    Upon information and belief, the fraudulent emails from the individual(s)
16

17 posing as “Justin Griffich” sent on October 28, 2019, October 29, 2019, and October

18 30, 2019, were sent from and are traceable to IP addresses associated with servers

19
     located in India. In addition, the public domain registration information for
20

21 BANLINCONSTRUCTON.COM indicates that domain is registered with Public

22 Domain Registry, Unit No. 501, Nesco IT Park, Nesco Complex, Western Express

23
     Highway, Goregaon (East), Mumbai, Maharashtra 400063.
24

25         13.    Approximately 20 emails were sent between employees of Benton

26 County and the fraudulent email address for an individual claiming to be “Justin

27
     Griffich” at Banlin Construction between October 28, 2019 and November 15, 2019.
28
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     The emails from the fraudulent account directed the Benton County Auditor’s Office
 1

 2 to change the banking deposit information for Banlin Construction. The emails further

 3
     requested that Benton County expedite their updating of the new, fraudulent banking
 4
     information and the payment as soon as possible. In particular, on October 28, 2019,
 5

 6 Benton County received an email from the individual(s) claiming to be Justin Griffich

 7
     in which Benton County was directed to deposit certain money that Benton County
 8
     owed Banlin Construction into SunTrust bank account ending #8992.
 9

10          14.   On November 15, 2019, Benton County caused $740,216.79 to be
11
     transferred from Key Bank (representing Benton County) to SunTrust Bank account
12

13
     ending #8992. The transfer of funds was authorized by Benton County based on the

14 transfer directions its employee(s) received from the aforementioned fraudulent

15
     emails. Following the transfer of the funds, the Benton County Auditor’s Office sent
16

17 a follow up email to the fraudulent email address after payment had been sent in order

18 to confirm receipt. The fraudulent email address has not responded to that email as of

19
     this date.
20

21          15.   The transfer of $740,216.79 from Benton County was deposited on

22 November 15, 2019 into SunTrust bank account ending #8992 in the name of Kelly A.

23
     Simpson. SunTrust Bank account ending #8992 is not associated with Banlin
24

25 Construction. Further, Kelly A. Simpson is not an employee or agent of Banlin

26 Construction or any way associated with Banlin Construction. Accordingly, the

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     SunTrust bank account into which the fraudulently obtained funds were deposited has
 1

 2 been determined to be a fraudulent account.

 3
            16.   On or about December 16, 2019, the USSS investigators spoke with a
 4
     SunTrust Bank investigator. The investigator confirmed the fraudulent activity
 5

 6 involving SunTrust Bank account ending #8992. The investigator stated that the

 7
     account had been frozen and subsequently closed due to SunTrust Bank identifying
 8
     the account as fraudulent after the deposit of $740,216.79 by Benton County, WA.
 9

10 Prior to the account being frozen, $23,015.35 had been debited from the account in

11
     multiple small transactions. The amount remaining in the account at the time it was
12

13
     frozen was $717,201.44.

14          17.   On or about December 23, 2019, the USSS obtained a federal seizure
15
     warrant in regards to the Defendant Property. Thereafter, the seizure warrant was duly
16

17 executed and the Defendant Property was seized by the USSS on January 6, 2020.

18                                    VI. CONCLUSION
19
            WHEREFORE, Plaintiff requests that the Clerk of the Court issue a warrant for
20

21 the arrest of the Defendant Property; that notice of this action be given to all persons

22 who reasonably appear to be potential claimants of interests in the property; that the

23
     Defendant Property be forfeited and condemned to the United States of America; that
24

25 //

26 //

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     //
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     VERIFIED COMPLAINT FOR FORFEITURE IN REM -6
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     Plaintiff be awarded its costs and disbursements in this action and for such other and

 2 further relief as this Court deems proper and just.
 3
           DATED this 5th day of February, 2020.
 4
                                     William D. Hyslop
 5
                                     United States Attorney
 6
                                     s/ Brian M. Donovan
 7
                                     Brian M. Donovan
 8                                   Assistant United States Attorney
 9
                                        VERIFICATION
lO
           I, Nicholas Provoncha, hereby verify and declare under penalty of perjury that I
11
12 am a Special Agent with the United States Secret Service in Spokane, Washington,
13 that I have read the foregoing Verified Complaint in rem and know the contents
14
   thereof, and that the matters contained in the Verified Complaint are true to my own
15
16 knowledge, except those matters herein stated to be alleged on information and belief,
17 and as to those matters I believe them to be true. The sources of my knowledge and
18
   information and the grounds of my belief are the official files and records of the
19
20 United States and information supplied to me by other law enforcement officers, as
21 well as my investigation of this case, together with others, as a Special Agent.
22
         I hereby verify and declare under penalty of perjury that the foregoing
23
24 information is true and correct.
                          5 tJi
                                                                           -
25         DATED this             day of February, 2020.
26
27
                                     �-62
                                     Nicholas Provoncha, Special Agent
28                                   United States Secret Service
     VERIFIED COMPLAINT FOR FORFEITURE IN REM -7
